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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY

     SIMON MAJDIPOUR, individually, and on
                                                              No.:
     behalf of a class of similarly situated individuals,

                    Plaintiff,
                                                              CLASS ACTION COMPLAINT
            v.                                                AND JURY TRIAL DEMAND

     JAGUAR LAND ROVER NORTH AMERICA,
     LLC

                    Defendant.

            Plaintiff Simon Majdipour, brings this action against Defendant Jaguar Land Rover

     North America, LLC, by and through his attorneys, individually and behalf of all others

     similarly situated (“Class Members”), and allege as follows:

      INTRODUCTION

            1.      From the 2003 through the 2006 model years, Defendant Jaguar Land Rover

     North America LLC (“Land Rover”) sold Range Rover sport utility vehicles equipped with

     defective Delphi electronic air suspension systems that develop cracks in the rubber air

     bellows used in those systems (collectively, “Class Vehicles”).

            2.      The defect—which can manifest at any time, at any speed, and under any

     driving condition—causes a loss of air pressure in the suspension system that renders Class




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     Vehicles suddenly unable to travel in a straight line (the “Air Suspension Defect”), which

     poses a serious risk of injury and death. In addition to sudden and unexpected breakdowns

     that can force Class Vehicles to be stranded in the road, the Air Suspension Defect can cause

     the driver to lose control while the vehicle is in motion.

            3.      Plaintiff Simon Majdipour, who owns a 2006 model-year Class Vehicle, is

     informed and believes that Land Rover knew or should have known about the Air Suspension

     Defect since at least as early as 2003. Plaintiff is informed that, in or about August 2006

     after conducting its own internal investigation, Land Rover quietly acknowledged the

     existence of the defect in a Technical Service Bulletin (“TSB”) in which it concedes that

     Class Vehicles “may develop hairline cracks in the rubber material of the front air spring.

     The cracks are likely located at the point where the air spring rolls over the plastic base.”

            4.      Nonetheless, contrary to its obligations under clearly-established law, Land

     Rover sold Class Vehicles to unsuspecting consumers without notifying them that the Air

     Suspension Defect even existed, much less offer to repair the resulting problems without cost

     to the owner if the problem manifested itself outside of the Class Vehicles’ limited 4

     year/50,000 mile warranty, as Land Rover knew it would.            Consequently, Plaintiff and

     members of the proposed class have been—and continue to be—exposed to a serious safety

     hazard and continue to bear the cost of repairs necessitated by the Air Suspension Defect on

     their own.

            5.      Accordingly, Plaintiff brings this action on behalf of himself and all other

     individuals who owned or leased a Class Vehicle for the purpose of requiring Land Rover to

     (1) notify all members of the proposed class of the nature and impact of the Air Suspension

     Defect, (2) reimburse proposed class members who have paid to fix the Air Suspension Defect,




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     and (3) repair the Air Suspension Defect free of charge for those proposed class members who

     have yet to experience the defect, and for compensatory, statutory, and punitive damages.

                                       JURISDICTION AND VENUE

             6.      This Court has subject matter jurisdiction of this action pursuant to 28 U.S.C.

     §§1332(d)(2) and (6) of the Class Action Fairness Act of 2005 because: (i) there are 100 or

     more class members, (ii) there is an aggregate amount in controversy exceeding $5,000,000,

     exclusive of interest and costs, and (iii) there is minimal diversity because at least one plaintiff

     and one defendant are citizens of different states. This Court has supplemental jurisdiction

     over the state law claims pursuant to 28 U.S.C. § 1367.

             7.      Venue is proper in this judicial district pursuant to 28 U.S.C. §1391 because

     Defendant Land Rover has its North American headquarters in this jurisdiction, transacts

     business in this district, is subject to personal jurisdiction in this district, and therefore is

     deemed to be a citizen of this district. Additionally, Defendants have advertised in this district

     and have received substantial revenue and profits from their sales and/or leasing of Class

     Vehicles in this district; therefore, a substantial part of the events and/or omissions giving rise

     to the claims occurred, in part, within this district.

             8.      This Court has personal jurisdiction over Defendant Land Rover. Defendant’s

     North American corporate headquarters is located in Mahwah, New Jersey.                   As such,

     Defendant has conducted substantial business in this judicial district, and intentionally and

     purposefully placed Class Vehicles into the stream of commerce within the districts of New

     Jersey and throughout the United States.

                                  NEW JERSEY LAW SHOULD APPLY

             9.      To the extent that it is appropriate to engage in a choice of law analysis for




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     purposes of deciding any motion to dismiss that may be filed by Land Rover, New Jersey’s

     substantive laws should apply to the proposed nationwide Class, as defined herein, because

     Plaintiff properly brings this Complaint in this District.

              10.     New Jersey’s substantive laws may be constitutionally applied to the claims of

     Plaintiffs and the Class Members under the Due Process Clause, 14th Amendment, § 1, and the

     Full Faith and Credit Clause, Art. IV., § 1, of the U.S. Constitution. New Jersey has significant

     contact, or significant aggregation of contacts, to the claims asserted by Plaintiff and all Class

     Members, thereby creating state interests that ensure that the choice of New Jersey state law is

     not arbitrary or unfair.

              11.     Specifically, Defendant’s North American headquarters and principal place of

     business is located in New Jersey. Defendant Land Rover is registered with the New Jersey

     State Business Gateway Service.        And according to its website, Land Rover’s Customer

     Relationship Center is located in Mahwah, New Jersey.1

              12.     Defendants also own property and conduct substantial business in New Jersey

     and, therefore, New Jersey has an interest in regulating Defendants’ conduct under its laws.

     Defendants’ decision to reside in New Jersey and avail itself of New Jersey’s laws renders the

     application of New Jersey law to the claims herein constitutionally permissible.

              13.     A substantial number of Class Members also reside in New Jersey and

     purchased their vehicles in New Jersey.

              14.     Upon information and belief, New Jersey is also the State from which

     Defendant’s misconduct emanated. This conduct similarly injured and affected Plaintiff and

     all Class Members residing in the United States. For instance, Defendant’s marketing and


     1
         http://www.landrover.com/us/en/lr/contact-us/contact-us/



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     advertising efforts, warranty and goodwill policies and procedures, and maintenance schedules

     and recommendations were all likely created in and orchestrated from the location of

     Defendant’s present headquarters in New Jersey. As a result, New Jersey is where the conduct

     causing injury to the Plaintiff and Class Members occurred and from where it emanated.

            15.     The application of New Jersey’s laws to the Nationwide Class is also

     appropriate under New Jersey’s choice of law rules because New Jersey has significant

     contacts to the claims of the Plaintiff and the proposed Nationwide Class, and New Jersey has

     a greater interest in applying its laws here than any other interested state.

                                               THE PARTIES

            16.     Plaintiff Simon Majdipour is a California citizen who purchased a 2006 Range

     Rover primarily for his personal, family, or household purposes, including the use as a carpool

     vehicle for his young children. On or about November 2009, Mr. Majdipour purchased the

     subject “Certified Pre-Owned Vehicle” with approximately 36,000 miles from Land Rover

     Encino in California.

            17.     Defendant Jaguar Land Rover North America, LLC, (“Land Rover”) is an

     automobile design, marketing, sale, leasing, distribution, and warranting limited liability

     company that maintains its headquarters and principle place of business in Mahwah, New

     Jersey. This entity was created in connection with the sale by Ford Motor Company of all

     Land Rover branded business entities to Tata Motors Limited. Land Rover is a subsidiary of

     Jaguar Cars Limited, a United Kingdom business entity that is a subsidiary of Jaguar

     LandRover Limited, another United Kingdom business entity which, in turn, is a subsidiary

     of Tata Motors, a business entity of the Republic of India. Land Rover was formerly known

     as Land Rover North America, Inc. and is the successor in interest to Land Rover North

     America, Inc. Land Rover designs, distributes, markets, services, repairs, sells and leases


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     passenger vehicles, including the Class Vehicles, nationwide.

            18.     At all times relevant herein,     Defendant was engaged in the business of

     designing, marketing, distributing, selling, leasing, and warranting automobiles in New

     Jersey and throughout the United States of America.

                            TOLLING OF STATUTES OF LIMITATION

            19.     Because the defects in the design or manufacturer of the Class Vehicles and

     their electronic air suspension cannot be detected until a defect manifests itself, Plaintiff and

     the members of the proposed class were not reasonably able to discover the problem until

     after purchasing or leasing the Class Vehicles, despite their exercise of due diligence.

            20.     Plaintiff and the members of the proposed class had no realistic ability to

     discern that the electronic air suspension was defective until their vehicles prematurely

     failed. Therefore, the discovery rule is applicable to the claims asserted by Plaintiff and the

     members of the proposed class.

            21.     Plaintiff is informed and believes and based thereon alleges that Land Rover

     has known of the Air Suspension Defect at least since 2003, if not earlier, and has concealed

     from or failed to alert owners and lessees of the Class Vehicles of the defective nature of

     their electronic air suspension.

            22.     Any applicable statute of limitation has therefore been tolled by Land Rover’s

     knowledge, active concealment, and denial of the facts alleged herein. Land Rover is further

     estopped from relying on any statute of limitation because of its concealment of the defective

     nature of the Class Vehicles and their electronic air suspension.

                                        FACTUAL ALLEGATIONS

            23.     Land Rover brought Class Vehicles to market in the 2003 model year (which




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     began in late 2002) and continued selling them through the 2006 model year without

     disclosing the existence, nature, or scope of the Air Suspension Defect. This Air Suspension

     Defect causes the suspension system’s rubber air bellows (also referred to as “air bags”) to

     crack open, releasing air pressure and losing their ability to properly hold the vehicle’s

     weight. As a result of this failure, the Air Suspension Defect creates a serious safety hazard,

     including the sudden loss of suspension on one side of the vehicle (rendering it lopsided

     while it is in motion), a loss of handling and the consequent inability to steer the vehicle in a

     straight line.

             24.      As alleged more fully below, Plaintiff experienced the Air Suspension Defect

     first hand twice, in or around November 2010 and in or around April 2012.

             25.      Plaintiff is informed and believes that Land Rover has been aware of the Air

     Suspension Defect since at least as early as 2003. Despite the obvious safety risk that it

     posed, however, Land Rover failed and refused to disclose the existence, nature, or scope of

     the Air Suspension Defect to Plaintiff, to the members of the proposed class, or to any other

     purchaser of an affected Range Rover throughout the United States. As a result of this

     failure, Plaintiff and the proposed class have been put at risk of a looming safety hazard

     without knowing it, and have been forced to bear the cost of repairs that become necessary

     when the Air Suspension Defect becomes manifest without causing bodily injury or death.

     A.      THE AIR SUSPENSION DEFECT POSES A SAFETY HAZARD AND IS EXPENSIVE TO FIX

             26.      Plaintiff is informed and believes that the Class Vehicles have experienced

     the Air Suspension Defect in use thereby creating a safety hazard. These failures often result

     in the vehicles suddenly dropping while being driven, sitting unevenly and leaning to one

     side, and/or to suddenly losing the ability to travel in a straight line.




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            27.    As reflected by complaints to the National Highway Traffic Safety

     Administration (“NHTSA”), an extraordinary number of purchasers and lessees of the Class

     Vehicles have experienced problems with the electronic air suspension as a result of the Air

     Suspension Defect. Those complaints reveal that the Air Suspension Defect is widespread

     and dangerous and that it manifests without warning.

            28.    The Air Suspension Defect is also expensive to fix. Plaintiff is informed and

     believes that repair costs can be as high as $2,500, depending on the replacement parts that

     are utilized. In or around April 2012, Plaintiff paid approximately $1,400 to repair the defect

     using replacement parts manufactured by a third-party.

            29.    The complaints also indicate Land Rover’s awareness of the problems with the

     electronic air suspension, the costs associated with the necessary repairs, and how potentially

     dangerous the defective condition is for consumers.         The following are examples of

     consumer safety complaints to NHTSA that have been posted on its website concerning the

     Air Suspension Defect which relate to electronic air suspension failure (spelling and

     grammar mistakes remain as found in the original) (Safecar.gov, Search for Complaints

     (August 14, 2012), http://www-odi.nhtsa.dot.gov/complaints/):

                  I HAVE A 2003, RANGE ROVER HSE. THE AIR SUSPENSION
                   INACTIVE WARNING LIGHT ILLUMINATED AND THE WHEELS
                   SHOOK. I TOOK THE VEHICLE IN (12/29/08). THEY COULD NOT
                   FIND THE PROBLEM AND SUGGESTED AN ALIGNMENT. I GOT THE
                   ALIGNMENT AND THEY CLEARED THE WARNING LIGHT (1/2/09). I
                   LEFT AND NOTICED THE VEHICLE STILL FELT OUT OF ALIGNED.
                   LATER THE WARNING LIGHT (AIR SUSPENSION INACTIVE) CAME
                   ON ONCE AGAIN (1/15/09). THIS TIME THE LEFT FRONT WHEEL
                   FAILED TO RAISE UP. I BROUGHT THE VEHICLE BACK IN. THIS
                   TIME THEY TOLD ME THE AIR SUSPENSION WAS LEAKING AND
                   NEEDED TO BE REPLACED. IT COST ME $2900 (1/22/09). I TOOK
                   THE VEHICLE HOME AND NOTICED THE VEHICLE WHEELS STILL
                   SHOOK. I REPORTED THE PROBLEM BUT REFUSED TO BRING THE
                   VEHICLE BACK IN. RECENTLY, THE WARNING LIGHT (AIR



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                 SUSPENSION INACTIVE) ILLUMINATED ONCE AGAIN AND NONE
                 OF THE WHEELS WOULD RAISE (2/22/09). I HAD THE VEHICLE
                 CHECKED AGAIN AND WAS TOLD IT WAS NEVER ALIGNED AND
                 THE WHEELS WERE NOT BALANCED. I HAD THE VEHICLE
                 ALIGNED AND THE WHEELS BALANCED. THE VEHICLE IS AGAIN
                 OUT OF ALIGNMENT AND THE WHEELS SHAKE. I DO NOT WANT
                 TO GET RIPPED OFF AGAIN, SO THE VEHICLE REMAINS IN MY
                 GARAGE. *TR

                THE CONTACT OWNS A 2003 LAND ROVER RANGE ROVER. THE
                 CONTACT HAS EXPERIENCED MULTIPLE FAILURES WITH THE
                 VEHICLE SINCE THE TIME OF PURCHASE. WHENEVER SHE
                 TURNED ON THE VEHICLE, THE ENGINE INDICATOR
                 ILLUMINATED ON THE INSTRUMENT PANEL, WHICH STATED
                 "COOLING TEMPERATURE". WHEN THE CONTACT ADDED WATER,
                 IT WOULD LEAK OUT. THE CONTACT EVENTUALLY TOOK THE
                 VEHICLE TO THE SHOP AND THEY STATED THAT THE RADIATOR
                 WAS LEAKING. THE DEALER STATED THAT THE ISSUE WAS
                 RESOLVED, BUT THE SUSPENSION WOULD CAUSE THE VEHICLE
                 TO LEAN TO THE LEFT. THE VEHICLE COULD NOT DRIVE
                 FORWARD IN A STRAIGHT LINE. THE DEALER STATED THAT AN
                 AIR BAG LEAK CAUSED THE SUSPENSION TO MALFUNCTION. THE
                 DEALER REPAIRED THE VEHICLE, BUT THE FAILURE RECURRED
                 A YEAR LATER ON THE OTHER SIDE. THE VEHICLE IS
                 CURRENTLY IN THE SHOP FOR A SUSPENSION ISSUE. THE
                 CONTACT BELIEVES THAT HER 2003 VEHICLE SHOULD NOT BE
                 EXPERIENCING SO MANY FAILURES. THE FAILURE MILEAGE WAS
                 30,000 AND CURRENT MILEAGE WAS 80,000.

                [2004 Range Rover] ALL RANGE ROVERS FROM 2003-2005 HAVE A
                 FULL AIR RIDE SUSPENSION THAT SUPPORTS THE VEHICLE ON
                 ALL FOUR CORNERS. THE CONCERN IS THAT THE AIRBAG THAT
                 SUPPORTS THE FRONT OF THE VEHICLE, RUPTURES AND
                 THROWS THE VEHICLE OFF BALANCE WHILE CORNERING
                 CAUSES A LOSS OF CONTROL OF THE VEHICLE. WHEN THE AIR
                 SUSPENSION FAILS IT ALSO DEACTIVATES THE ANTI-LOCK
                 BRAKES MAKING THE VEHICLE UNSAFE TO DRIVE BECAUSE OF
                 A LACK OF ABS CONTROL. THIS IS A PROBLEM THAT LAND
                 ROVER IS AWARE OF AND ARE NOT MAKING ANY ATTEMPT TO
                 ADDRESS. THIS IS A $1200.00-$1500.00 REPAIR FOR ONE SIDE (LEFT
                 OR RIGHT) NOT BOTH FRONT AIR BAGS THAT SUPPORT THE
                 FRONT OF THE VEHICLE. IF THIS CONCERNED IS RESEARCHED
                 YOU WILL BE AMAZED AT THE NUMBER OF REPAIRS THAT ARE
                 DONE AND PAID FOR BY RANGE ROVER OWNERS, BECAUSE THIS
                 SAFETY ISSUE IS NOT REPORTED OR ADDRESSED. I AM
                 EXPERIENCING THIS ISSUE NOW. *TR



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                    [2006 Range Rover] THE CONTACT OWNS A 2006 LAND ROVER. THE
                     CONTACT STATES THAT WHEN DRIVING THE VEHICLE 55MPH ON
                     THE FREEWAY THE VEHICLE STARTED GOING SLOW AND THEN
                     FELT THE SUSPENSION DROP TO THE GROUND .ALL THE LIGHTS
                     IILUMINATED AND THE VEHICLE WENT TO THE SIDE. THEY HAD
                     TOLD HER THAT HER SUSPENSION HAD A BIG DEFECT. THE
                     DEALER TOLD HER TO CALL THE INSURANCE SO THAT IT WILL
                     NOT BE REPORTED AS A DEFECT FROM THE MANUFACTURE.THE
                     FAILURE AND CURRENT MILEAGE WAS 23000.
             30.     The Air Suspension Defect poses an unreasonable safety risk for Class

      Members, as well as the drivers, passengers, and pedestrians sharing the road with Class

      Vehicles.    A vehicle’s ability to balance weight properly while traveling, turning, and

      braking, to travel in a straight line, and to avoid dropping while in operation are each critical

      to the safe operation of a motor vehicle. A defect that causes one or more of these negative

      characteristics clearly poses a safety hazard to the general public as well as the driver and

      occupants of the affected vehicles, and increases the risk of automobile collisions.

      B.     LAND ROVER HAS EXCLUSIVE KNOWLEDGE OF THE AIR SUSPENSION DEFECT

             31.     Land Rover had superior and exclusive knowledge of the Air Suspension

      Defect, and knew or should have known that the defect was not known or reasonably

      discoverable by Plaintiff and Class Members prior to their purchase or lease of the Class

      Vehicles.

             32.     Plaintiff is informed and believes and based thereon alleges that before

      Plaintiff purchased and since 2003, if not before, Land Rover knew about the Air Suspension

      Defect through sources not available to consumers, including pre-release testing data, early

      consumer complaints about the Air Suspension Defect to Land Rover and its dealers, testing

      conducted in response to those complaints, high failure rates and replacement part sales data

      contained in its warranty database, aggregate data from Land Rover dealers, among other




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      internal sources of aggregate information about the problem.

             33.     Moreover, it is indisputable that Defendant was aware of the Air Suspension

      Defect at the time Plaintiff purchased his vehicle, yet did not disclose the defect to the

      Plaintiff and also failed to repair the defect prior to selling him the vehicle.

             34.     The existence of the Air Suspension Defect is a fact that would be considered

      material to a reasonable consumer deciding whether to purchase or lease a vehicle that was

      equipped with electronic air suspension. Had Plaintiff and other Class Members known

      about the Air Suspension Defect while they were in the market for a vehicle, they would not

      have purchased the Class Vehicles equipped with the electronic air suspension or, at the very

      least, would have paid less for them to account for the need to monitor and repair the

      problem on an ongoing basis before the Air Suspension Defect becomes manifest.

             35.     Reasonable consumers, like Plaintiff, expect and assume that a vehicle’s

      suspension system is safe, will function in a manner that will not pose a safety hazard, and is

      free from defects. Plaintiff and members of the proposed class also expect and assume that

      Land Rover will not sell or lease vehicles with known safety defects, such as the Air

      Suspension Defect, and will disclose any such defects to its consumers when it learns of

      them. They did not expect Land Rover to conceal problems such as the Air Suspension

      Defect from them, to continually deny its existence, or that Land Rover would refuse to bear

      thousands of dollars of repair costs that become necessary to correct the problems resulting

      from defective electronic air suspension systems.

      C.     LAND ROVER HAS ACTIVELY CONCEALED THE AIR SUSPENSION DEFECT

             36.     Land Rover has been fully aware of the Air Suspension Defect in the Class

      Vehicles, but it has actively concealed the existence and nature of the defect from Plaintiff




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      and members of the proposed class at the time of purchase, lease or repair and thereafter.

      Specifically, Land Rover has failed to disclose or actively concealed at and after the time of

      purchase, lease, or repair:

                     (a)     any and all known material defects or material nonconformity of the
                             Class Vehicles, including the defects relating to the electronic air
                             suspension;

                     (b)     that the Class Vehicles, including their electronic air suspension, were
                             not in good in working order, were defective, and were not fit for their
                             intended purposes; and

                     (c)     that the Class Vehicles and their electronic air suspension were
                             defective, despite the fact that Land Rover learned of such defects
                             through alarming failure rates, customer complaints, as well as through
                             other internal sources, as early as 2003.

             37.     Land Rover has caused Plaintiff and Members of the Class to expend money

      at its dealerships to repair or replace the Class Vehicles’ electronic air suspension

      components, despite Defendant’s knowledge of the defect.

             38.     When consumers present the Class Vehicles to an authorized Land Rover

      dealer for repair of the electronic air suspension, consumers are typically told that they must

      pay for the repair.

             39.     To this day, Land Rover still has not notified Plaintiff and the Class Members

      that the Class Vehicles suffer from a systemic defect that causes the electronic air suspension

      to malfunction.

             40.     Land Rover has caused Plaintiff and Class Members to expend money at its

      dealerships to diagnose, repair or replace the Class Vehicles’ electronic air suspension

      systems, despite Land Rover’s knowledge of the Air Suspension Defect.

      D.     PLAINTIFF’S EXPERIENCE WITH THE AIR SUSPENSION DEFECT

             41.     On or about November 17, 2010 (less than two (2) months after Mr.



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      Majdipour purchased his vehicle), the Air Suspension Defect manifested in his 2006 model-

      year Range Rover, which suddenly dropped to one side while being driven, and suspension

      warning lights illuminated on the dashboard.           The mileage on the odometer was

      approximately 47,986.

             42.    Shortly after this failure occurred, Mr. Majdipour had his vehicle towed to an

      authorized Land Rover dealer. The dealer found a “leak at right front air spring.” The dealer

      replaced Mr. Majdipour’s right front air spring and made various related repairs to the

      suspension system. Fortunately, Mr. Majdipour’s vehicle was covered by the Certified Pre-

      Owned Warranty, but was nonetheless forced to pay a $100 deductible before those repairs

      were covered by the warranty. At no time during this repair was Plaintiff advised that this

      was a known systemic defect in the Class Vehicles they may manifest again.

             43.    On or around April 6, 2012, with approximately 65,783 miles on the

      odometer, Mr. Majdipour’s vehicle suddenly and without warning dropped to one side while

      being driven, thereby rendering it immobile and inoperable.

             44.    Mr. Majdipour had his vehicle towed to an independent repair facility, where

      the mechanic found the left air spring leaking and failing to hold pressure. The mechanic

      further found that the air spring would “collapse” upon the vehicle starting up, as well as

      while the vehicle was being driven.

             45.    Ultimately, Mr. Majdipour’s vehicle was repaired by a second mechanic who

      replaced both front air springs with aftermarket components specifically designed to address

      defects and deficiencies in the original Delphi components. Mr. Majdipour had to pay

      $1,409.45 out of pocket for this repair. At all times, Mr. Majdipour, like all Class Members,

      has driven his vehicle in a foreseeable manner and in the manner in which it was intended to




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      be used.

                                    CLASS ACTION ALLEGATIONS

             46.     Plaintiffs bring this action on behalf of themselves, and on behalf of a

      nationwide class, pursuant to Fed. R. Civ. Pr. P. 23(a), 23(b)(2), and/or 23(b)(3); specifically,

      the following Class and Sub-Class:

             Nationwide Class:         All persons or entities in the United States who are current or
                                       former owners and/or lessees of a Class Vehicle (the
                                       “Nationwide Class”).

             California Sub-Class:     All persons or entities in California who are current or former
                                       owners and/or lessees of a Class Vehicle (the “California Sub-
                                       Class”).

             47.     Excluded from the Nationwide Class and the California Sub-Class is

      Defendants, its affiliates, employees, officers and directors, persons or entities that purchased

      the Class Vehicles for resale, and the Judge(s) assigned to this case. Plaintiff reserves the right

      to modify the Nationwide Class and California Sub-Class definitions if discovery and/or

      further investigation reveal that they should be expanded or otherwise modified.

             48.     There is a well-defined community of interest in the litigation and the Class is

      readily ascertainable.

             49.     Numerosity: Although the exact number of Class Members is uncertain and

      can only be ascertained through appropriate discovery, the number is great enough such that

      joinder is impracticable. The disposition of the claims of these Class Members in a single

      action will provide substantial benefits to all parties and to the Court. The Class Members

      are readily identifiable from information and records in Defendant’s possession, custody, or

      control, as well as from records kept by the Departments of Motor Vehicles.

             50.     Typicality: The claims of the representative Plaintiff are typical of the claims

      of the Class in that the representative Plaintiff, like all Class Members, purchased and leased


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      a Class Vehicle designed and distributed by Land Rover, and equipped with electronic air

      suspension. The representative Plaintiff, like all Class Members, has been damaged by

      Defendant’s misconduct in that he has incurred or will incur the cost of repairing or replacing

      the defective electronic air suspension. Furthermore, the factual bases of Land Rover’s

      misconduct are common to all Class Members and represent a common thread resulting in

      injury to all Class Members.

             51.    Commonality: There are numerous questions of law and fact common to

      Plaintiff and the Class that predominate over any question affecting only individual Class

      Members. These common legal and factual issues include the following:

                    (A)     Whether class vehicles suffer from defects relating to the electronic air
                            suspension;

                    (B)     Whether the defects relating to the electronic air suspension constitutes an
                            unreasonable safety risk;

                    (C)     Whether defendant knows about the defects relating to the electronic air
                            suspension and, if so, how long defendant has known of the defect;

                    (D)     Whether the defective nature of the electronic air suspension constitutes a
                            material fact;

                    (E)     Whether defendant has a duty to disclose the defective nature of the
                            electronic air suspension to plaintiff and class members;

                    (F)     Whether plaintiff and the other class members are entitled to equitable
                            relief, including but not limited to a preliminary and/or permanent
                            injunction;

                    (G)     Whether defendant knew or reasonably should have known of the defects
                            relating to the electronic air suspension before it sold and leased class
                            vehicles to class members;

                    (H)     Whether defendant should be declared financially responsible for notifying
                            all class members of the problems with the class vehicles and for the costs
                            and expenses of repairing and replacing the defective electronic air
                            suspension;

                    (I)     Whether defendant is obligated to inform class members of their right to
                            seek reimbursement for having paid to diagnose, repair, or replace their


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                            defective electronic air suspension;

                    (J)     Whether defendant’s conduct violates the New Jersey Consumer Fraud
                            Act and the other statutes asserted herein;



                    (K)     Whether defendant breached the implied warranty of merchantability
                            pursuant to the Song-Beverly Act.

                    (L)     Whether defendant’s conduct violates the California Legal Remedies Act;

                    (M)     Whether defendant’s conduct violates California’s Secret Warranty Law;

                    (N)     Whether, as a result of defendant’s omissions and/or misrepresentations of
                            material facts related to the Air Suspension Defect, plaintiff and class
                            members have suffered ascertainable loss of moneys, property, and/or
                            value; and

                    (O)     Whether plaintiff and class members are entitled to monetary damages
                            and/or other remedies, and if so the nature of any such relief.

             52.    Adequacy: Plaintiff will fairly and adequately protect the interests of the Class

      Members. Plaintiff has retained attorneys experienced in the prosecution of class actions,

      including consumer and product defect class actions, and Plaintiff intends to prosecute this

      action vigorously.

             53.    Plaintiff and the Class Members have all suffered and will continue to suffer

      harm and damages as a result of Defendant’s unlawful and wrongful conduct. A class action

      is superior to other available methods for the fair and efficient adjudication of the

      controversy. Absent a class action, most Class Members would likely find the cost of

      litigating their claims prohibitively high and would therefore have no effective remedy at

      law. Because of the relatively small size of the individual Class Members’ claims, it is likely

      that only a few Class Members could afford to seek legal redress for Defendant’s

      misconduct. Absent a class action, Class Members will continue to incur damages, and

      Defendant’s misconduct will continue without remedy.            Class treatment of common



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      questions of law and fact would also be a superior method to multiple individual actions or

      piecemeal litigation in that class treatment will conserve the resources of the courts and the

      litigants and will promote consistency and efficiency of adjudication.

             54.     In the alternative, the Class may be certified because:

                     (A)    The prosecution of separate actions by the individual members of the
                            class would create a risk of inconsistent or varying adjudication with
                            respect to individual class members, which would establish incompatible
                            standards of conduct for land rover;

                     (B)    The prosecution of separate actions by individual class members would
                            create a risk of adjudications with respect to them that would, as a practical
                            matter, be dispositive of the interests of other class members not parties to
                            the adjudications, or substantially impair or impede their ability to protect
                            their interests; and

                     (C)    Land rover has acted or refused to act on grounds generally applicable to
                            the class, thereby making appropriate final and injunctive relief with
                            respect to the members of the class as a whole.


                                        VIOLATIONS ALLEGED

                                               COUNT I
                                     VIOLATION OF THE NJCFA
                                   (On Behalf of the Nationwide Class)

             55.     Plaintiff and the Nationwide Class incorporate by reference each preceding and

      succeeding paragraph as though fully set forth at length herein.

             56.     The NJCFA protects consumers against “any unconscionable commercial

      practice, deception, fraud, false pretense, false promise, misrepresentation, or the knowing,

      concealment, suppression, or omission of any material fact with intent that others rely upon

      such concealment, suppression or omission, in connection with the sale or advertisement of any

      merchandise . . . .” N.J.S.A. 56:8-2.

             57.     Plaintiff and Class Members are consumers who purchased and/or leased Class

      Vehicles for personal, family, or household use.



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             58.     Defendant engaged in unlawful conduct, made affirmative misrepresentations,

      or otherwise violated the NJCFA. Specifically, Defendant was aware that the Class Vehicles

      suffered from a common defect resulting in failure of the air suspension system in the Class

      Vehicles, but purposefully failed to disclose this to Plaintiff and Class Members during the

      purchase of the vehicle or thereafter. Defendant failed to disclose the Air Suspension Defect

      with the knowledge that many Class Members may not discover the Air Suspension Defect

      until after the expiration of their warranties.    Further, Defendant marketed these luxury

      vehicles as being of superior quality when the Class Vehicles contained a known defect.

             59.     Defendant also engaged in unlawful conduct in violation of the NJCFA by

      making knowing and intentional omissions. Defendant purposefully and knowingly failed to

      disclose the Air Suspension Defect in the Class Vehicles in order to secure the sale of these

      vehicles at a premium price and also to mislead owners during the limited warranty period to

      avoid having to perform their contractual duties under the warranty.

             60.     Defendant did not fully and truthfully disclose to its customers the true nature of

      the inherent defect in the air suspension system, which was not readily discoverable until years

      later, sometimes after the warranty has expired. In fact, on the date Plaintiff purchased his

      vehicle, Defendant had acknowledged the defect to its dealers years earlier and described how

      to remedy the defect, and yet Plaintiff’s vehicle was never modified and he was never advised

      about the defect.

             61.     Defendant intended that Plaintiff and all Class Members rely on the acts of

      concealment and omissions, so that they would purchase the Class Vehicles and not have the

      defects remedied under warranty.

             62.     As a result of Defendant’s conduct, Plaintiffs and Class Members have suffered




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      an ascertainable loss. In addition to direct monetary losses which can be thousands of dollars,

      Plaintiff and Class Members have also suffered an ascertainable loss by receiving less than

      what was promised.

             63.     A causal relationship exists between Defendant’s unlawful conduct and the

      ascertainable losses suffered by Plaintiff and the Class Members. Had the Air Suspension

      Defect in the Class Vehicles been disclosed, consumers would not have purchased them, would

      have paid less for the Class Vehicles had they decided to purchase them, or would have

      presented their vehicles for repair of the Air Suspension Defect under warranty.

                                                COUNT II
                                 BREACH OF EXPRESS WARRANTY
                                 (On Behalf of the Nationwide Class or,
                                 Alternatively, the California Sub-Class)

             64.     Plaintiff and the Classes incorporate by reference each preceding and

      succeeding paragraph as though fully set forth at length herein.

             65.     Land Rover expressly warranted that the Class Vehicles were of high quality

      and, at a minimum, would actually work properly. Land Rover also expressly warranted that

      they would repair and/or replace defects in material and/or workmanship free of charge if they

      manifested during the warranty period.

             66.     Land Rover breached this warranty by selling to Plaintiff and Class Members

      the Class Vehicles with known defects, including but not limited to the Air Suspension Defect.

             67.     Defendant further breached this warranty by failing to repair and/or replace

      Plaintiff’s and other putative Class Members’ air suspension systems while the vehicles were

      still under warranty.

             68.     Land Rover knew of the aforesaid defects by early 2003, if not before, and

      continues to have knowledge of the Air Suspension Defect and breaches of its express



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      warranty, yet has intentionally failed to notify Plaintiff and Class Members.

               69.   This intended failure to disclose the known Air Suspension Defect is malicious,

      and was carried out with willful and wanton disregard for the rights and economic interests of

      Plaintiff and Class Members.

               70.   As a result of defendant’s actions, Plaintiff and Class Members have suffered

      economic damages including but not limited to costly repairs, loss of use of the vehicles,

      substantial loss in value and resale value of the vehicles, and other damage.

               71.   Land Rover’s attempt to disclaim or limit these express warranties vis-à-vis

      consumers is unconscionable and unenforceable under the circumstances here. Specifically,

      defendant’s warranty limitation is unenforceable because they knowingly sold a defective

      product without informing consumers about the defect and purposefully concealed the defect

      until such time that the Class Vehicles were out of warranty.

               72.   The time limits contained in defendant’s warranty period were also

      unconscionable and inadequate to protect Plaintiff and Class Members. Among other things,

      Plaintiff and Class Members had no meaningful choice in determining these time limitations,

      the terms of which unreasonably favored Land Rover. A gross disparity in bargaining power

      existed between defendant and Class Members, and Land Rover knew or should have known

      that the Class Vehicles were defective at the time of sale and would fail well before their useful

      lives.

               73.   Plaintiff and Class Members have complied with all obligations under the

      warranty, or otherwise have been excused from performance of said obligations as a result of

      defendant’s conduct described herein.




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                                               COUNT III
                                       COMMON LAW FRAUD
                                 (On Behalf of the Nationwide Class or,
                                 Alternatively, the California Sub-Class)

              74.    Plaintiff and the Classes incorporate by reference each proceeding and

      succeeding paragraph as though fully set forth at length herein.

              75.    Defendant made material misrepresentations and omissions concerning a

      presently existing or past fact. For example, Defendant did not fully and truthfully disclose to

      its customers the true nature of the Air Suspension Defect in the Class Vehicles, which was not

      readily discoverable until years later, sometimes after the warranty has expired. As a result,

      Plaintiff and the other Class Members were fraudulently induced to lease and/or purchase the

      Class Vehicles with the said defects and all of the resultant problems, and also not present their

      vehicles to an authorized repair facility during the warranty period to have the defect remedied

      at no cost.

              76.    These omissions and statements were made by Defendant with knowledge of

      their falsity, and with the intent that Plaintiff and Class Members rely on them.

              77.    Plaintiff and Class Members reasonably relied on these statements and

      omissions, and suffered damages as a result.

                                               COUNT IV
                              BREACH OF THE DUTY OF GOOD FAITH
                                        AND FAIR DEALING
                                (On Behalf of the Nationwide Class or,
                                Alternatively, the California Sub-Class)

              78.    Plaintiff and the Classes incorporate by reference each preceding and

      succeeding paragraph as though fully set forth at length herein.

              79.    Every contract in New Jersey contains an implied covenant of good faith and

      fair dealing. The implied covenant of good faith and fair dealing is an independent duty and




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      may be breached even if there is no breach of a contract’s express terms.

             80.       Defendant breached the covenant of good faith and fair dealing by, inter alia,

      failing to notify Plaintiff and Class Members of the Air Suspension Defect in the Class

      Vehicles, and failing to fully and properly repair this defect.

             81.       Defendant acted in bad faith and/or with a malicious motive to deny Plaintiff

      and Class Members some benefit of the bargain originally intended by the parties, thereby

      causing them injuries in an amount to be determined at trial.

                                                   COUNT V
                                         UNJUST ENRICHMENT
                                   (On Behalf of the Nationwide Class or,
                                   Alternatively, the California Sub-Class)

             82.       Plaintiff and the Nationwide Class incorporate by reference each preceding and

      succeeding paragraph as though fully set forth at length herein.

             83.       As a direct and proximate result of Defendant’s failure to disclose known

      defects and material misrepresentations regarding known defects, and the scope of the

      Warranty coverage in the Class Vehicles, Land Rover has profited through the sale and lease of

      said vehicles.

             84.       Additionally, as a direct and proximate result of defendant’s failure to disclose

      known defects and material misrepresentations regarding known defects in the Class Vehicles,

      Plaintiff and members of the Class Members have incurred substantial costs to repair the

      defects and therefore have conferred an unjust substantial benefit upon Land Rover.

             85.       Moreover, as a direct and proximate result of defendant’s failure to disclose

      known defects and material misrepresentations regarding known defects in the Class Vehicles,

      Land Rover has profited to the extent that Plaintiff and Class Members purchased and leased

      Defendant’s vehicles, purchased certified parts directly from the defendant to repair the



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      defects, and had to pay for repairs out of their own pocket that should have been covered under

      warranty.

             86.        Land Rover has therefore been unjustly enriched due to the known defects in

      the Class Vehicles through the use of funds that earned interest or otherwise added to

      defendant’s profits when said money should have remained with Plaintiff and Class Members.

             87.        As a result of the defendant’s unjust enrichment, Plaintiff and Class Members

      have suffered damages.

                                                 COUNT VI
                                       BREACH OF THE IMPLIED
                                WARRANTY OF MERCHANTABILITY
                           (On Behalf of the California Sub-Class, Pursuant to the
                           Song-Beverly Act California Civil Code Section 1791.1)

             88.        Plaintiff hereby incorporates by reference the allegations contained in the

      preceding paragraphs of this Complaint.

             89.        Plaintiff brings this cause of action against Defendant on behalf of himself and

      on behalf of the members of the proposed class.

             90.        Defendant was at all relevant times the manufacturer, distributor, warrantor,

      and/or seller of the Class Vehicles. Defendant knew or had reason to know of the specific

      use for which the Class Vehicles were purchased.

             91.        Defendant provided Plaintiff and Class Members with an implied warranty

      that the Class Vehicles and any parts thereof are merchantable and fit for the ordinary

      purposes for which they were sold. However, the Class Vehicles are not fit for their ordinary

      purpose of providing reasonably reliable and safe transportation because, inter alia, the Class

      Vehicles and their electronic air suspension suffered from an inherent defect at the time of

      sale and thereafter are not fit for their particular purpose of providing safe and reliable

      transportation.


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             92.     Defendant impliedly warranted that the Class Vehicles were of merchantable

      quality and fit for such use. This implied warranty included, among other things: (i) a

      warranty that the Class Vehicles and their electronic air suspensions were manufactured,

      supplied, distributed, and/or sold by Land Rover were safe and reliable for providing

      transportation; and (ii) a warranty that the Class Vehicles and their electronic air suspensions

      would be fit for their intended use while the Class Vehicles were being operated.

             93.     Contrary to the applicable implied warranties, the Class Vehicles and their

      electronic air suspensions at the time of sale and thereafter were not fit for their ordinary and

      intended purpose of providing Plaintiff and the Class Members with reliable, durable, and

      safe transportation. Instead, the Class Vehicles are defective, including but not limited to the

      defective design and manufacture of their electronic air suspensions.

             94.     Defendant’s actions, as complained of herein, breached the implied warranty

      that the Class Vehicles were of merchantable quality and fit for such use in violation of

      California Civil Code §§ 1792 and 1791.1.

                                              COUNT VII
                        Violation of California’s Consumer Legal Remedies Act,
                                California Civil Code section 1750 et seq.
                                (On Behalf of the California Sub-Class)

             95.     Plaintiff hereby incorporates by reference the allegations contained in the

      preceding paragraphs of this Complaint.

             96.     Plaintiff brings this cause of action on behalf of himself and on behalf of the

      members of the California Sub-Class.

             97.     Defendant is a “person” as defined by California Civil Code § 1761(c).

             98.     Plaintiff and Class Members are “consumers” within the meaning of

      California Civil Code § 1761(d).



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             99.      By failing to disclose and concealing the defective nature of the Class

      Vehicles’ electronic air suspension from Plaintiff and prospective Class Members, Defendant

      violated California Civil Code § 1770(a), as it represented that the Class Vehicles and their

      electronic air suspension had characteristics and benefits that they do not have, and

      represented that the Class Vehicles and their electronic air suspension were of a particular

      standard, quality, or grade when they were of another. See Cal. Civ. Code §§ 1770(a)(5) &

      (7).

             100.     Defendant’s unfair and deceptive acts or practices occurred repeatedly in

      Defendant’s trade or business, were capable of deceiving a substantial portion of the

      purchasing public, and imposed a serious safety risk on the public.

             101.     Defendant knew that the Class Vehicles and their electronic air suspension

      suffered from an inherent defect, were defectively designed or manufactured, would fail

      prematurely, and were not suitable for their intended use.

             102.     Defendant was under a duty to Plaintiff and the Class Members to disclose the

      defective nature of the electronic air suspension and/or the associated repair costs because:


                   a. Defendant was in a superior position to know the true state of facts about the
                      safety defect in the Class Vehicles’ electronic air suspension;

                   b. Plaintiff and the Class Members could not reasonably have been expected to
                      learn or discover that their electronic air suspension had a dangerous safety
                      defect until manifestation of failure; and

                   c. Defendant knew that Plaintiff and the Class Members could not reasonably
                      have been expected to learn or discover the safety defect.

             103.     In failing to disclose the defective nature of the electronic air suspension,

      Defendant has knowingly and intentionally concealed material facts and breached its duty

      not to do so.



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             104.     The facts concealed or not disclosed by Defendant to Plaintiff and the Class

      Members are material in that a reasonable consumer would have considered them to be

      important in deciding whether or not to purchase the Class Vehicles or pay a lesser price.

      Had Plaintiff and other Class Members known that the Class Vehicles’ electronic air

      suspension was defective, they would not have purchased the Class Vehicles or would have

      paid less for them.

             105.     Plaintiff and the Class Members are reasonable consumers who do not expect

      the electronic air suspension installed in their vehicles to fail prematurely. This is the

      reasonable and objective consumer expectation relating to vehicle suspension.

             106.     As a result of Defendant’s conduct, Plaintiff and Class Members have been

      harmed and have suffered actual damages in that the Class Vehicles have experienced and

      will continue to experience premature electronic air suspension failures.

             107.     As a direct and proximate result of Defendant’s unfair or deceptive acts or

      practices, Plaintiff and Class Members have suffered and will continue to suffer actual

      damages.

             108.     Plaintiff and the Class are entitled to equitable relief.

             109.     Plaintiff provided Defendant with notice of its alleged violations of the CLRA

      pursuant to California Civil Code § 1782(a). If, within 30 days, Defendant fails to provide

      appropriate relief for their violations of the CLRA, Plaintiff will amend this Complaint to seek

      monetary, compensatory, and punitive damages, in addition to the injunctive and equitable

      relief that he seeks now.

                                                COUNT VIII
                    Violation of California Business & Professions Code § 17200, et seq.
                                  (On Behalf of the California Sub-Class)
             110.     Plaintiff hereby incorporates by reference the allegations contained in the


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      preceding paragraphs of this Complaint.

             111.    Plaintiff brings this cause of action on behalf of himself and on behalf of all

      Class Members.

             112.    California Business & Professions Code § 17200 prohibits acts of “unfair

      competition,” including any “unlawful, unfair or fraudulent business act or practice” and

      “unfair, deceptive, untrue or misleading advertising.”

             113.    Plaintiff and the Class Members are reasonable consumers who do not expect

      their electronic air suspension to prematurely fail.

             114.    Defendant knew the Class Vehicles and their electronic air suspension

      suffered from inherent defects, were defectively designed or manufactured, would fail

      prematurely, and were not suitable for their intended use.

             115.    In failing to disclose the defects with the electronic air suspension, Defendant

      has knowingly and intentionally concealed material facts and breached their duty not to do

      so.

             116.    Defendant was under a duty to Plaintiff and the Class Members to disclose the

      defective nature of the Class Vehicles and their electronic air suspension:

                 a. Defendant was in a superior position to know the true state of facts about the
                    safety defect in the Class Vehicles’ electronic air suspensions;

                 b. Defendant made partial disclosures about the quality of the Class Vehicles
                    without revealing the defective nature of the Class Vehicles and their
                    electronic air suspensions; and

                 c. Defendant actively concealed the defective nature of the Class Vehicles and
                    their electronic air suspensions from Plaintiff and the Class.

             117.    The facts concealed or not disclosed by Defendant to Plaintiff and the Class

      Members are material in that a reasonable person would have considered them to be

      important in deciding whether to purchase Class Vehicles. Had Plaintiff and other Class

      Members known that the Class Vehicles’ electronic air suspensions were defective and posed




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      a safety hazard, then Plaintiff and the other Class Members would not have purchased Class

      Vehicles equipped with electronic air suspensions, or would have paid less for them.

             118.    Defendant continued to conceal the defective nature of the Class Vehicles and

      their electronic air suspensions even after Class Members began to report problems. Indeed,

      Defendant continues to cover up and conceal the true nature of the problem.

             119.    By its conduct, Defendant has engaged in unfair competition and unlawful,

      unfair, and fraudulent business practices.

             120.    Defendant’s unfair or deceptive acts or practices occurred repeatedly in

      Defendant’s trade or business, and were capable of deceiving a substantial portion of the

      purchasing public.

             121.    As a direct and proximate result of Defendant’s unfair and deceptive practices,

      Plaintiff and the Class have suffered and will continue to suffer actual damages.

             122.    Defendant has been unjustly enriched and should be required to make

      restitution to Plaintiff and the Class pursuant to §§ 17203 and 17204 of the Business &

      Professions Code.

                                               COUNT IX
                                          INJUNCTIVE RELIEF

             179.    Plaintiff and the Classes incorporate by reference each preceding and

      succeeding paragraph as though fully set forth at length herein.

             180.    Injunctive relief is appropriate and necessary to remedy Defendant’s wrongful

      conduct and to prevent Land Rover from continuing its wrongful conduct.

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                                            RAYER FOR RELIEF

             WHEREFORE, Plaintiff, on behalf of himself and members of the Class, respectfully

      requests that this Court:

                     a.      An order certifying the proposed Class and Sub-Classes, designating
                             Plaintiff as named representative of the Class, and designating the
                             undersigned as Class Counsel;

                     b.      A declaration that Defendant is financially responsible for notifying all
                             Class Members about the defective nature of the electronic air
                             suspension, including the need for period maintenance;

                     c.      An order enjoining Defendant from further deceptive distribution, sales,
                             and lease practices with respect to Class Vehicles, and to remove and
                             replace Plaintiff and Class Members’ electronic air suspensions with a
                             suitable alternative product;

                     d.      A declaration requiring Defendant to comply with the various provisions
                             of the Song-Beverly Act alleged herein and to make all the required
                             disclosures;

                     e.      An award to Plaintiff and the Class for compensatory, exemplary, and
                             statutory damages, including interest, in an amount to be proven at trial,
                             except that for now, Plaintiff seeks only equitable and injunctive relief
                             with respect to his claims under California’s Consumer Legal Remedies
                             Act, California Civil Code section 1750 et seq.;

                     f.      Any and all remedies provided pursuant to the Song-Beverly Act,
                             including California Civil Code section 1794;

                     g.      A declaration that Defendant must disgorge, for the benefit of the Class,
                             all or part of the ill-gotten profits it received from the sale or lease of its
                             Class Vehicles, or make full restitution to Plaintiff and Class Members;

                     h.      An award of attorneys’ fees and costs, as allowed by law;

                     i.      n award of attorneys fees and costs pursuant to California Code of Civil
                             Procedure § 1021.5;

                     j.      An award of pre-judgment and post-judgment interest, as provided by
                             law;

                     k.      Leave to amend the Complaint to conform to the evidence produced at
                             trial; and

                     l.      Such other relief as may be appropriate under the circumstances.


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                                      DEMAND FOR JURY TRIAL
             Plaintiffs hereby demand a trial by jury on all claims and issues so triable.

      Dated: December 26, 2012




                                    By:
                                            Matthew Mendelsohn
                                            MAZIE SLATER KATZ & FREEMAN, LLC
                                            103 Eisenhower Parkway
                                            Roseland, New Jersey 07068
                                            Telephone: (973) 228-9898
                                            Facsimile: (973) 228-0303
                                            e-mail: mmendelsohn@mskf.net




                             LOCAL CIVIL RULE 11.2 CERTIFICATION

         I hereby further certify that to the best of my knowledge, the matter in controversy is not

      the subject of any other action pending in any court or of any pending arbitration or

      administrative proceeding.


                                            MAZIE SLATER KATZ & FREEMAN, LLC
                                            Attorneys for Plaintiffs




                                            MATTHEW R. MENDELSOHN

      Dated: December 26, 2012




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